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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION


 THOMAS ROSSLEY, JR.                                     Civ. No. 4:16-cv-00623-RGE-SBJ

         Plaintiff,
                                                           PLAINTIFF’S RESISTANCE TO
 vs.                                                        DEFENDANTS’ MOTION FOR
                                                              SUMMARY JUDGMENT
 DRAKE UNIVERSITY, DRAKE                                               and
 UNIVERSITY BOARD OF TRUSTEES,                            REQUEST FOR ORAL ARGUMENT

         Defendants.


        COMES NOW Plaintiff Thomas Rossley Jr. (“Plaintiff”), by and through his undersigned

counsel, hereby resists Drake University’s and Drake University Board of Trustees’ (collectively Drake’s)

motion for summary judgment because there are genuine issues of disputed material facts which preclude

the disposition of this action on summary judgment. In support of his resistance, Plaintiff states the

following:

        1.      Plaintiff states that there are genuine issues of material fact with regard to his claim

of sex discrimination because of a gender biased erroneous outcome under Title IX of the

Education Amendments of 1972. (“Title IX”).

        2.      Plaintiff states that there are genuine issues of material fact with regard to his claim

of sex discrimination because of a gender biased selective enforcement under Title IX.

        3.      Plaintiff states that there are genuine issues of material fact with regard to his claim

of sex discrimination because of a gender biased deliberate indifference under Title IX.

        4.      Plaintiff states that there are genuine issues of material fact with regard to his claims

of Drake’s failure to provide him with reasonable accommodations for his disabilities in the

disciplinary proceeding pursuant to the Americans with Disabilities Act (“ADA”).


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          5.    Plaintiff states that there are genuine issues of material fact with regard to his claims

for breach of contract, breach of the duty of good faith and fair dealing and estoppel by being

expelled through a process that did not provide him with fundamental fairness.

          6.    Plaintiff states that he will not proceed further with the claim for negligent infliction

of emotional distress. This state tort law claim does not fit well the circumstances of a college

disciplinary process dealing with alleged sexual misconduct.

          7.    By way of response to Drake’s motion for summary judgment, Plaintiff submits the

following:

                A.      Plaintiff’s brief in support of his resistance to Drake’s motion for summary

judgment.

                B.      Plaintiff’s response to Drake’s statement of material facts.

                C.      Plaintiff’s statement of additional material facts, which Plaintiff contends

preclude summary judgment.

                D.      Appendix of supporting documents.

          WHEREFORE, Plaintiff respectfully submits that the Court must deny Defendants’

Motion for Summary Judgment and order such further and other relief as the Court deems just and

proper.

Dated: June 22, 2018
                                                Respectfully submitted,

                                                /s/ David H. Goldman
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                                                         -and-

                                                   [2]
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                                 CERTIFICATE OF SERVICE

       The undersigned certifies that this document was served by electronic filing upon the

attorneys of record for each party to the above-entitled case at the e-mail address shown below on

June 22, 2018:

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